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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
NIKE, INC.,

               Plaintiff,                           Case No. 23-cv-05337

v.                                                  Judge Joan B. Gottschall

                                                    Magistrate Judge Heather K. McShain
JINJIANG LINGHANG CAPTAIN SHOES
CO., LTD., et al.

               Defendants.


                              SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on November 27, 2023 [88], in

favor of Plaintiff Nike, Inc. (“Plaintiff”) and against the Defendants Identified in Schedule A in

the amount of five hundred thousand dollars ($500,000) per Defaulting Defendant for willful use

of counterfeit Nike Trademarks in connection with the offer for sale and/or sale of products

through at least the Online Marketplaces, and Plaintiff acknowledges payment of an agreed upon

damages amount, costs, and interest and desires to release this judgment and hereby fully and

completely satisfy the same as to the following Defendant:

               Defendant Name                                         Line No.
               bestjordanshoes7                                          52

        THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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Dated this 25th day of January 2024.   Respectfully submitted,

                                       /s/ Marcella D. Slay
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